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          FULL TRANSCRIPT: Trump's exclusive 100 days
          broadcast interview with ABC News
          President Donald Trump sat down with ABC News' Terry Moran in the Oval Office.

          By ABC NEWS
          April 29, 2025, 9:00 PM




              40:14


          FULL INTERVIEW | President Trump the First 100 Days: The Interview in the Oval Office President Donald Trump
          discussed his first 100 days in office during an exclusive interview with ABC News, discussing a wide range of
          topics from the economy to immigration, and foreign policy.




          President Donald Trump exclusively sat down with ABC News on Tuesday for the first
          broadcast interview marking the 100-day milestone of his second term.




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          ABC News anchor and Senior National Correspondent Terry Moran conducted the
          interview from the Oval Office, which aired on ABC at 8 p.m. ET. The interview will also
          be streamed later Tuesday on ABC News Live, Disney+ and Hulu.




          ABC News Exclusive: President Donald J. Trump sits down with Anchor and Senior National Correspondent Terry
          Moran, April, 29, 2025 as Trump marks his first 100 days in office.
          Michael Le Brecht II/ABC News




                       MORE: Trump hopes Hegseth will be 'great' defense secretary despite Signal flap




          The president's first 100 days back in the White House have been marked by
          controversial tariffs, an overhaul of U.S. immigration enforcement and massive cuts to
          the federal workforce, all policies that Trump notes he campaigned on.


          Read the full transcript of ABC News' milestone interview with Trump below.



                       MORE: Trump pushes back against economic anxieties in ABC interview, says
                       China 'probably will eat those tariffs'



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          TERRY MORAN: Okay. Mr. President, thank you for doing this.


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                                   00:24                                                                02:00




          PRESIDENT DONALD TRUMP: Thank you very much.


          TERRY MORAN: Here in the Oval Office, it's -- it's special. A hundred days into your
          second term. So what's the one thing, just one thing, that you think is the most
          significant thing you've done so far in these 100 days?


          PRESIDENT DONALD TRUMP: Well, I think maybe the border is the most significant
          because our country was really going bad. They were allowing people to come in from
          prisons, as you know. And you've heard me say it, but you've heard a lot of people say it.
          Prisons, mental institutions, gang members -- murderers.


          We had many murderers, 11,888, they think. Some murdered more than one person. So
          you had murderers coming in. You had everybody coming in. And not just South
          America. From all over the world, they were emptying their prisons into our country.


          And now it's totally closed down. And you've seen just yesterday, they announced 99.9%.
          Nobody thought that could happen, and it happened quickly, very quickly. And I think
          that's very significant. But we're doing other things that are very significant.




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          Results will take a little bit longer because it's one of those -- you know, it's complicated.
          It's -- many years of trading abuse. We've been abused by other countries for years and
          years. They laughed at us. They thought we were stupid people, and we're fixing it. And --
          I think that's gonna be very, very important. But I -- I would --


          TERRY MORAN: We have a lot of ground to cover.


          PRESIDENT DONALD TRUMP: Yeah. I would really say that -- that -- that the border is so
          important, you know? You just can't --


          TERRY MORAN: And we'll get there. Immigration is huge --


          PRESIDENT DONALD TRUMP: -- let that happen. Yeah.


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          TERRY MORAN: And we're gonna get there. But I wanna start --


          PRESIDENT DONALD TRUMP: Sure.


          TERRY MORAN: -- with the economy, the number one issue for so many people, for just
          about everybody. It -- it's one of the main reasons that you're back in this office. And now
          we have this trade war with China that -- that Moody's and other analysts say is gonna
          cost American families thousands of more dollars per year. And there is a lot of concern
          out there. People are worried, even some people who voted for you, sayin', "I didn't sign
          up for this." So how do you answer those concerns?


          PRESIDENT DONALD TRUMP: Well, they did sign up for it, actually. And this is what I
          campaigned on. I said that-- we've been abused by other countries at levels that nobody's
          ever seen before. We were losing $3 to 5 billion a day on trade. We were losing-- a trillion
          and a half to $2 trillion a year. Not sustainable.


          They were takin' advantage of us like they've never -- I could've left it that way, and at
          some point there would've been an implosion like nobody's ever seen. But I said, "No, we
          have to fix it." I've -- I've wanted to do this for many years.


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          You know, I had the best economy during my first term. We had a tremendous economy,
          tremendous success. And we -- we did tremendous numbers of tariffs on -- we took in a
          lot of money from tariffs -- China in particular, hundreds of billions of dollars in tariffs.
          We had no inflation, as you know. We had an incredible economy. We were given credit
          for a great economy. But I said, "We have to fix this, otherwise it's just not self-sustaining."
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          TERRY MORAN: Well, one of the things you ran on was you'd said you'd bring prices
          down on day one. And that --


          PRESIDENT DONALD TRUMP: And I have --


          TERRY MORAN: -- it would happen fast. And that it would happen fast and --


          PRESIDENT DONALD TRUMP: I have.


          TERRY MORAN: Many -- most economists will tell you that tariffs will raise prices. So
          don't your tariffs cut against that promise you made to bring prices down?


          PRESIDENT DONALD TRUMP: No, because I had massive tariffs on China, if you
          remember in my first term, and we had essentially no inflation. Like, around 1% inflation,
          which is, like, a perfect number. The -- and then when Biden took over it went through
          the roof.


          It went to the -- probably the worst inflation we've ever had. I mean, we had an inflation
          nightmare. Now, if you look at what's happening now, we're only there for 100 days, as
          you say, and in 100 days we took over the -- we had bad inflation for four years, for two
          years of -- especially two years of his -- his administration. I would say record-setting like
          we've never seen. They say 48 years, the worst in 48 years. I'd say it was much worse than
          that --


          TERRY MORAN: You lived through that, I lived through that, yeah.


          PRESIDENT DONALD TRUMP: Right. So -- so now if you look at what's happened --
          energy is down. Gasoline hit $1.98 in a few states -- during the last couple of days. It was
          $3.50 and $4.00 and $4.50. But gasoline is way down. And when I took over, you
          remember the big thing with eggs?


          They hit me the first week, "Eggs, eggs, eggs," like it was my fault. I said, "I didn't cause
          this problem. This problem was caused by Biden. What's the problem with eggs?" And
          they said, "They've doubled it." Well, eggs are down 87% since I got involved.


          TERRY MORAN: A lotta that is bird flu, right --




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          PRESIDENT DONALD TRUMP: And by the way -- and there were plenty of eggs for
          Easter, which we just went through. There were plenty of eggs for Easter. They were
          saying, "You won't have enough eggs for Easter." We ended -- our sec -- my secretary did a
          fantastic job on eggs. Groceries are down. Everything's down --


          TERRY MORAN: Okay.


          PRESIDENT DONALD TRUMP: Interest rates are the same. Interest rates should be
          down, but we have a Federal Reserve that wants to be stubborn. They wanna be cute --


          TERRY MORAN: Alright, we'll get to that. A couple -- you said something a couple weeks
          ago that -- that struck me. You said, concerning the tariffs, which economists say are
          gonna raise prices, you said, quote, "Hang tough. It won't be easy." You said that to the
          American people. Is that what Americans should expect --


          PRESIDENT DONALD TRUMP: Well, I've said that --


          TERRY MORAN: -- some hard times?


          PRESIDENT DONALD TRUMP: I've said that during --


          TERRY MORAN: Because of these tariffs--


          PRESIDENT DONALD TRUMP: -- my campaign. Look, we won a campaign by a lot. We
          won all seven swing states. We won the popular vote by a lot. You know, we had a
          tremendous campaign. I said all of these things during my campaign. I said, "You're
          gonna have a transition period." We've been ripped off by every country all over the
          world. They're laughing at us. They thought we were stupid people, and we were. And I
          said, "That's not gonna happen. We're not gonna let that happen" --


          TERRY MORAN: Hard times -- hard times are ahead?


          PRESIDENT DONALD TRUMP: I don't think so. I think great --


          TERRY MORAN: "Hang tough" --


          PRESIDENT DONALD TRUMP: -- times are ahead. Look, since I came in gasoline is
          down, groceries are down, egg prices are down -- many things are down, just about

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          everything. You know, you don't have the drop in -- in fuel and energy and oil like we did.
          I took it from maybe $3.20, maybe more than that, down into a low -- a much lower
          number. When you have that kind of a drop you're not gonna have inflation.


          TERRY MORAN: Not now. But it's the tariffs, right? We still have 145% tariffs --


          PRESIDENT DONALD TRUMP: Well --


          TERRY MORAN: -- on China


          PRESIDENT DONALD TRUMP: Why is it --


          TERRY MORAN: Your Treasury secretary said we basically have an embargo on China.


          PRESIDENT DONALD TRUMP: Look, you're trying to --


          TERRY MORAN: And that --


          PRESIDENT DONALD TRUMP: -- say something's gonna happen, Terry --


          TERRY MORAN: No, no, no, no. Okay, well, do you --


          PRESIDENT DONALD TRUMP: Nothing's gonna happen


          TERRY MORAN: You know business. I wanna ask you --


          PRESIDENT DONALD TRUMP: Terry -- Terry --


          TERRY MORAN: I wanna ask you.


          PRESIDENT DONALD TRUMP: I do know business. And --


          TERRY MORAN: Yeah, so 145% tariffs on China. And -- and that is --


          PRESIDENT DONALD TRUMP: That's good.


          TERRY MORAN: -- basically --


          PRESIDENT DONALD TRUMP: That's good.

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          TERRY MORAN: -- an embargo


          PRESIDENT DONALD TRUMP: They deserve it.


          TERRY MORAN: It'll raise prices on everything from--


          PRESIDENT DONALD TRUMP: They deserve it.


          TERRY MORAN: -- electronics to clothing to building houses.


          PRESIDENT DONALD TRUMP: You don't know that. You don't know whether or not
          China's gonna eat it --


          TERRY MORAN: That's mathematics.


          PRESIDENT DONALD TRUMP: China probably will eat those tariffs. But at 145, they
          basically can't do much business with the United States. And they were making from us a
          trillion dollars a year. They were ripping us off like nobody's ever ripped us off. And by
          the way, we have other countries that were just as bad. If you look at the European Union,
          it was terrible what they've done to us. Every country, almost every country in the world
          was ripping us off.


          TERRY MORAN: But I --


          PRESIDENT DONALD TRUMP: They're not doing that anymore.


          TERRY MORAN: I want you to think about the boom that this country has had in small
          businesses, mom-and-pops -- Etsy stores, small businesses that became --


          PRESIDENT DONALD TRUMP: Really? They haven't had a boom --


          TERRY MORAN: -- big businesses


          PRESIDENT DONALD TRUMP: -- because of inflation.


          TERRY MORAN: Well, your boom, what they've done --


          PRESIDENT DONALD TRUMP: The boom was inflationary boom. The people were wiped
          out with inflation. I mean, you read the news. You do the business stuff, I assume --
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          TERRY MORAN: Now they face -- now they -- they -- a lot of 'em built those businesses on
          the trading model before you --


          PRESIDENT DONALD TRUMP: Yeah, and they're gonna make more money now


          TERRY MORAN: They source their products overseas. And now they're looking at an
          extinction event --


          PRESIDENT DONALD TRUMP: I've been here.


          TERRY MORAN: They're -- they're -- it's disaster for them.


          PRESIDENT DONALD TRUMP: I've been here for three months. I've taken a trade deficit
          down to a number that's very, very -- starting to get really good. I only -- I just got here.
          We had a country that -- it was not sustainable. What Biden did to this country, between -
          - the open borders where criminals poured into our country, between every country in
          the world ripping us off on trade, it was not sustainable.


          TERRY MORAN: So your message to those small businesses who are saying, "We can't live
          a month, two months with these tariffs," Apple got a big deal. Is there something for
          them?


          PRESIDENT DONALD TRUMP: No, no. Not only Apple. We've got $7-8 trillion being
          invested in our country in two months. Biden didn't have that over a year. I mean, if you
          look at Biden, nobody was really investing in this country. Everybody was ripping off our
          country. Apple's putting up $500 billion, but that's only one of many companies.
          Companies are flooding into our country right now.


          TERRY MORAN: So your answer to the concern about the tariffs is, "Everything's gonna
          be hunky-dory?"


          PRESIDENT DONALD TRUMP: Everybody's gonna be just fine. It wouldn't have been if I
          didn't do this. I had a choice. I could leave it, have a nice, easy time. But I think ultimately
          you would've had an implosion. Our country had inflation that was worse than they've
          ever had it before.


          You don't mention that. Why don't you mention that? We had the worst inflation
          probably in the history of our country. People say 48 years, probably in the history of our

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          country we had the worst inflation. And people were dying over the inflation. You know
          that. Now the grocery prices are coming down. The energy prices are coming down.
          Gasoline's coming down. It's all heading in the right direction.


          TERRY MORAN: Okay. Let's move on to immigration. And as you said, it is an undeniable
          fact that illegal crossings at the southern border have plummeted, a staggering decline.
          But there are questions about your methods, and so I want to ask you --


          PRESIDENT DONALD TRUMP: About my message?


          TERRY MORAN: Methods. About your methods, how you're accomplishing this --


          PRESIDENT DONALD TRUMP: Well, they seem to work.


          TERRY MORAN: Do you acknowledge that under our law every single person who gets
          deported gets a hearing first to make their case?


          PRESIDENT DONALD TRUMP: Well, are we talking about people that are citizens of our
          country or not?


          TERRY MORAN: No, you're not deporting citizens, at this point.


          PRESIDENT DONALD TRUMP: Well, lemme ask you. Do they get hearings when -- when
          Biden allowed 21 million -- 'cause I think the number's 21, 20 million -- people to flow into
          our country? He had 21 million people that came into our country through a stupid open
          border.


          And they were prisoners and they were -- people that you don't want, in many cases, in
          our country, right? They came from all over the world. They came from the Congo. They
          came from south -- they came from all over the world. We're talkin' about some of the
          roughest countries in the world -- they had -- they had here, including terrorists, by the
          way. Now --


          TERRY MORAN: But the law --


          PRESIDENT DONALD TRUMP: Did we give them a hearing when they came in?




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          TERRY MORAN: Well, the law requires that every single person who is going to be
          deported gets a hearing first.


          PRESIDENT DONALD TRUMP: Well --


          TERRY MORAN: Do you acknowledge that?


          PRESIDENT DONALD TRUMP: I'll -- I'll have to ask the lawyers about that. All I can say is
          this: If you're gonna have 21 million people, and if we have to get a lot of 'em out because
          they're criminals, we're gonna have to act fast. We can't -- do you think we can give 21
          million trials? Let's say each trial takes two weeks. Is that what you want us to do --


          TERRY MORAN: The law is the law, sir --


          PRESIDENT DONALD TRUMP: -- give 21 million?


          TERRY MORAN: The law is the law and you're sworn --


          PRESIDENT DONALD TRUMP: No, no. The law doesn't say anything --


          TERRY MORAN: -- to uphold it --


          PRESIDENT DONALD TRUMP: -- about trials


          TERRY MORAN: No, not trials. Hearings. I said hearings --


          PRESIDENT DONALD TRUMP: If these people came in, they're not citizens, they came in
          illegally, they came into our country illegally, we have to --


          TERRY MORAN: And they --


          PRESIDENT DONALD TRUMP: -- get them out.


          TERRY MORAN: There's a legal process for that.


          PRESIDENT DONALD TRUMP: I can't -- sure, and we follow the legal process. I can't -- I
          can't have a trial-- a major trial-- for every person that came in illegally, we have
          thousands of murderers that came in. They're gonna murder people. They already have
          murdered people in our country.
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          TERRY MORAN: Right, so --


          PRESIDENT DONALD TRUMP: We have to get 'em out--


          TERRY MORAN: They're bad guys --


          PRESIDENT DONALD TRUMP: And we have to get 'em out fast.


          TERRY MORAN: Really bad guys. But in our country even bad guys get due process,
          right?


          PRESIDENT DONALD TRUMP: If people come into our country illegally there's a
          different standard. These are illegal. They came in illegally.


          TERRY MORAN: But they get due process.


          PRESIDENT DONALD TRUMP: Well, they get a process where we have to get 'em out,
          yeah.


          TERRY MORAN: Okay. Let's talk about the Venezuelans.


          PRESIDENT DONALD TRUMP: They get whatever my lawyers say.
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          TERRY MORAN: Right. Alright, let's talk about the Venezuelans. You deported more than
          200 Venezuelans to that prison in El Salvador. You -- you say they're -- they're violent.
          They're gang members. They're terrorists. Many of them don't have -- a criminal record --


          PRESIDENT DONALD TRUMP: They are, by the way.


          TERRY MORAN: -- at all.


          PRESIDENT DONALD TRUMP: Well -- I'm not so sure about that, if you take a look --


          TERRY MORAN: I wanna -- I wanna read you something --


          PRESIDENT DONALD TRUMP: When you -- excuse me. When you look at those -- those
          people, they were violent people. They were violent people --


          TERRY MORAN: But many of them don't have a criminal record at this point --
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          PRESIDENT DONALD TRUMP: Go ahead.


          TERRY MORAN: I wanna read you something --


          PRESIDENT DONALD TRUMP: I mean, that's what you say.


          TERRY MORAN: Well, it's based on -- their lawyer-- what their lawyers have said --


          PRESIDENT DONALD TRUMP: Go ahead. Go ahead.


          TERRY MORAN: Joe Rogan said this. Joe Rogan, one of the leading podcasters, Trump
          supporter, about the deportation of Venezuelans. He said, quote, "Rounding up gang
          members and shipping them to El Salvador with no due process," he said it was
          dangerous and added, quote, "We gotta be careful that we don't become monsters while
          we're fighting monsters." I -- is Joe Rogan --


          PRESIDENT DONALD TRUMP: I agree with that.


          TERRY MORAN: -- right?


          PRESIDENT DONALD TRUMP: Oh, I agree with that a hundred percent, yeah. We want to
          be careful. We are careful. We're doing something that has to be done. We have a country
          that's very sick. Joe Biden -- and it's not him, because I don't even think he knew what the
          hell was happening.


          But the people around him are vicious people. And what they've done to the country is
          unbelievable. They've allowed 21 million people to pour into our country. Many of these
          people are criminals. They've allowed the -- you mention Venezuela -- the jails of
          Venezuela to be emptied into the United States.


          Do you know Venezuela crime is way down? Way, way down. You know why? Because
          their criminals are now living happily in the United States of America, and we're getting
          'em out. And I was elected to get 'em out, and we're getting 'em out --


          TERRY MORAN: Under the law, it sounds like --


          PRESIDENT DONALD TRUMP: -- getting them out fast, and we're getting them out
          legally. Now in some cases, we have judges. In some cases, they're radical left judges.

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          What happened the other day, where a judge was protecting a criminal, was horrible.


          TERRY MORAN: Mmm.


          PRESIDENT DONALD TRUMP: And I think she's got big problems, frankly --


          TERRY MORAN: Probably. And talk about --


          PRESIDENT DONALD TRUMP: And there are a couple of them like that.


          TERRY MORAN: I want to talk about one man --


          PRESIDENT DONALD TRUMP: Wait a minute.


          TERRY MORAN: Yep.


          PRESIDENT DONALD TRUMP: We have to be treated fairly by judges. And we're not
          being treated fairly by all judges.


          TERRY MORAN: Oh, that's a subject its -- so you're saying that you don't like some of the
          rulings, some of the --


          PRESIDENT DONALD TRUMP: Well, I think --


          TERRY MORAN: -- court orders?


          PRESIDENT DONALD TRUMP: I think the rulings will be overturned, yeah.


          TERRY MORAN: Alright. Well, let me ask about one man and one court order. Kilmar
          Abrego Garcia. He's the Salvadoran man who crossed into this country illegally but who
          is under a protective order that he not be sent back to El Salvador. Your government sent
          him back to El Salvador and acknowledged in court that was a mistake. And now the
          Supreme Court has upheld an order that you must return him to the -- facilitate his
          return to the United States. What are you doing to comply?


          PRESIDENT DONALD TRUMP: Well, the lawyer that said it was a mistake was here a long
          time, was not appointed by us -- should not have said that, should not have said that. And
          just so you understand --


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          TERRY MORAN: Said it in court. Said it in court --


          PRESIDENT DONALD TRUMP: -- the person that you're talkin' about, you know, you're
          makin' this person sound -- this is a MS-13 gang member, a tough cookie, been in lots of
          skirmishes, beat the hell out of his wife, and the wife was petrified to even talk about him,
          okay? This is not an innocent, wonderful gentleman from Maryland --


          TERRY MORAN: I'm not saying he's a good guy. It's about the rule of law. The order from
          the Supreme Court stands, sir --


          PRESIDENT DONALD TRUMP: He came into our country illegally.


          TERRY MORAN: You could get him back. There's a phone on this desk.


          PRESIDENT DONALD TRUMP: I could.


          TERRY MORAN: You could pick it up, and with all --


          PRESIDENT DONALD TRUMP: I could


          TERRY MORAN: -- the power of the presidency, you could call up the president of El
          Salvador and say, "Send him back," right now.


          PRESIDENT DONALD TRUMP: And if he were the gentleman that you say he is, I would
          do that.


          TERRY MORAN: But the court has ordered you --


          PRESIDENT DONALD TRUMP: But he's not.


          TERRY MORAN: -- to facilitate that -- his release--


          PRESIDENT DONALD TRUMP: I'm not the one making this decision. We have lawyers
          that don't want --


          TERRY MORAN: You're the president.


          PRESIDENT DONALD TRUMP: -- to do this, Terry --


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          TERRY MORAN: Yeah, but the -- but the buck stops in this office --


          PRESIDENT DONALD TRUMP: I -- no, no, no, no. I follow the law. You want me to follow
          the law. If I were the president that just wanted to do anything, I'd probably keep him
          right where he is --


          TERRY MORAN: The Supreme Court says what the law is.


          PRESIDENT DONALD TRUMP: Listen. I was elected to take care of a problem that was --
          it was -- a, a unforced error that was made by a very incompetent man, a man that turned
          out to be incompetent that you always said was wonderful, a great genius, right? And now
          you find out -- all of the media, now they're saying what a mistake they made. A man who
          was grossly incompetent allowed us to have open borders where millions of people
          flowed in --


          TERRY MORAN: Alright.


          PRESIDENT DONALD TRUMP: I campaigned on that issue. I wouldn't say it was my
          number one issue, but it was pretty close.


          TERRY MORAN: Right up there.


          PRESIDENT DONALD TRUMP: I campaigned on that issue. I've done an amazing job. I
          have closed borders. He said you couldn't do it, you wouldn't be able to do it, it would
          never happen. Well, it happened. And it happened --


          TERRY MORAN: Alright.


          PRESIDENT DONALD TRUMP: -- very quickly. Wait a minute. When we have criminals,
          murderers, criminals in this country, we have to get 'em out. And we're doing it.


          TERRY MORAN: By law --


          PRESIDENT DONALD TRUMP: And you'll pick out one man, but even the man that you
          picked out --


          TERRY MORAN: He's got --



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          PRESIDENT DONALD TRUMP: -- he said he'd -- wasn't a member of a gang. And then
          they looked, and --


          TERRY MORAN: Alright.


          PRESIDENT DONALD TRUMP: On his knuckles -- he had MS-13 --


          TERRY MORAN: Alright. There's dis -- there's a dispute over that --


          PRESIDENT DONALD TRUMP: Well, wait a minute. Wait a minute. He had MS-13 --


          TERRY MORAN: Well --


          PRESIDENT DONALD TRUMP: -- on his knuckles tattooed.


          TERRY MORAN: -- he -- he -- he -- it didn't say-- oh, he had some tattoos that are inper --
          interpreted that way. But let's move on


          PRESIDENT DONALD TRUMP: Wait a minute.


          TERRY MORAN: I want --


          PRESIDENT DONALD TRUMP: Hey, Terry. Terry. Terry.


          TERRY MORAN: He -- he did not have the letter --


          PRESIDENT DONALD TRUMP: Don't do that -- M-S-1-3 -- It says M-S-one-three.


          TERRY MORAN: I -- that was Photoshop. So let me just--


          PRESIDENT DONALD TRUMP: That was Photoshop? Terry, you can't do that -- he had --


          -- he-- hey, they're givin' you the big break of a lifetime. You know, you're doin' the
          interview. I picked you because -- frankly I never heard of you, but that's okay --


          TERRY MORAN: This -- I knew this would come --


          PRESIDENT DONALD TRUMP: But I picked you -- Terry -- but you're not being very nice.
          He had MS-13 tattooed --
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          TERRY MORAN: Alright. Alright. We'll agree to disagree. I want to move on --


          PRESIDENT DONALD TRUMP: Terry.


          TERRY MORAN: -- to something else.


          PRESIDENT DONALD TRUMP: Terry. Do you want me to show the picture?


          TERRY MORAN: I saw the picture. We'll -- we'll -- we'll agree to disagree --


          PRESIDENT DONALD TRUMP: Oh, and you think it was Photoshop. Well --


          TERRY MORAN: Here we go. Here we go.


          PRESIDENT DONALD TRUMP: -- don't Photoshop it. Go look --


          TERRY MORAN: Alright.


          PRESIDENT DONALD TRUMP: -- at his hand. He had MS-13 --


          TERRY MORAN: Fair enough, he did have tattoos that can be interpreted that way. I'm
          not an expert on them.


          I want to turn to Ukraine, sir --


          PRESIDENT DONALD TRUMP: No, no. Terry --


          TERRY MORAN: I-- I want to get to Ukraine--


          PRESIDENT DONALD TRUMP: Terry, no, no. No, no. He had MS as clear as you can be.
          Not "interpreted." This is why people --


          TERRY MORAN: Alright.


          PRESIDENT DONALD TRUMP: -- no longer believe --


          TERRY MORAN: Well.


          PRESIDENT DONALD TRUMP: -- the news, because it's fake news --

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          TERRY MORAN: When he was photographed in El Sal -- in-- in El Salvador, they aren't
          there. But let's just go on --


          PRESIDENT DONALD TRUMP: He is --


          TERRY MORAN: They aren't there when he's in El Salvador.


          PRESIDENT DONALD TRUMP: --there -- oh, oh, they weren't there --


          TERRY MORAN: Take a look at the photograph --


          PRESIDENT DONALD TRUMP: But they're there now, right?


          TERRY MORAN: No. What --


          PRESIDENT DONALD TRUMP: But they're there now?


          TERRY MORAN: They're in your picture.


          PRESIDENT DONALD TRUMP: Terry.


          TERRY MORAN: Ukraine, sir.


          PRESIDENT DONALD TRUMP: He's got MS-13 on his knuckles.


          TERRY MORAN: Alright. I --


          PRESIDENT DONALD TRUMP: Okay?


          TERRY MORAN: -- we'll -- we'll take a look at it --


          PRESIDENT DONALD TRUMP: It's -- it's -- you do such a disservice --


          TERRY MORAN: We'll take a look. We'll take a look at that, sir --


          PRESIDENT DONALD TRUMP: Why don't you just say, "Yes, he does," and, you know, go
          on to something else --




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          TERRY MORAN: It's contested. Ukraine. I want to turn -- I was just in Rome, and to that
          moving photograph of you and President Zelenskyy sitting in St. Peter's Basilica --


          PRESIDENT DONALD TRUMP: Yeah.


          TERRY MORAN: -- talking peace. It went around the world.


          PRESIDENT DONALD TRUMP: Sure.


          TERRY MORAN: Take us into that moment.


          PRESIDENT DONALD TRUMP: Well, look, the Ukraine is a very serious, very tough
          situation. And this is Biden's war. This is not my war. But I want to see if I can solve it,
          because probably close to 5,000 young soldiers a week are being killed, Russian and
          Ukrainian. We also spend a tremendous amount of money in Ukraine, and Europe should
          be spending much more than us. They're not. They're spending much less. It's been badly
          handled by the Biden administration. It's been badly handled all the way around, all the
          way around --


          TERRY MORAN: But that -- that moment.


          PRESIDENT DONALD TRUMP: The moment was a moment of solace in a sense, because
          -- tremendous numbers of people are dying. A lot of his people are dying. They're being
          killed. And I feel very badly about it. I feel very badly about -- that's a war that would have
          never happened if I were president, and it didn't happen for four years. It was never even
          a thought of it happening.


          TERRY MORAN: It -- it does feel like something's happening. After that meeting with
          Zelenskyy in St. Peter's, you posted this on social media. "There was no reason for Putin
          to be shooting missiles into civilian areas, in cities and towns, over the last few days. It
          makes me think that maybe" --


          PRESIDENT DONALD TRUMP: Yeah, well, that was part of my post. But you're right.
          That was -- that was part of a post, yes --


          TERRY MORAN: And it says, "It makes me think that maybe he doesn't want to stop the
          war. He's just tapping me along--"



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          PRESIDENT DONALD TRUMP: It's possible. Yeah, that's possible. Sure.


          TERRY MORAN: "He might be --"


          PRESIDENT DONALD TRUMP: He could be tapping me along a little bit. I would say that
          he would like to stop the war. I think that --


          TERRY MORAN: You believe that?


          PRESIDENT DONALD TRUMP: -- if -- if it weren't for me, I think he'd want to take over
          the whole country, personally. I always felt -- so when I left, there wasn't even a chance
          that this would happen. When Biden got involved, I won't say whether or not he handled
          it properly, but obviously it wasn't good, because the war started.


          Putin went in. The war started. I believe that Putin wanted to get all of Ukraine once he
          went in. And I think part of the reason he went in is he saw what happened in
          Afghanistan, how incompetent -- how incompetently Milley and all these guys handled
          that. It was one of the greatest embarrassments of -- of our lifetimes but maybe in the
          history of our country. Okay. So Putin went in. I think Putin wanted all of Ukraine.


          TERRY MORAN: Right.


          PRESIDENT DONALD TRUMP: I think if I didn't win the election, he would have gotten
          all of Ukraine. I think he would have taken all of Ukraine.


          TERRY MORAN: From --


          PRESIDENT DONALD TRUMP: I think his first choice -- never with me. He would have
          never gone in. With this group of losers, he went in. He saw what happened in
          Afghanistan. He said, "Wow, this is my chance," because it was always the apple of his
          eye. I talked to him. Ukraine was the apple of his eye. I think he wanted the whole
          country.


          TERRY MORAN: You've said for months that --


          PRESIDENT DONALD TRUMP: And because of me, I do believe that --


          TERRY MORAN: Yeah. Yeah.

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          PRESIDENT DONALD TRUMP: -- he's willing to stop the fighting. Don't forget --


          TERRY MORAN: You think he wants peace?


          PRESIDENT DONALD TRUMP: -- this is --


          TERRY MORAN: You think Vladimir Putin wants peace?


          PRESIDENT DONALD TRUMP: I think he does, yes. I think he does--


          TERRY MORAN: Still?


          PRESIDENT DONALD TRUMP: I think because of me --


          TERRY MORAN: Even with the raining missiles on --


          PRESIDENT DONALD TRUMP: I think he really -- his -- his -- his dream was to take over
          the whole country. I think because of me, he's not gonna do that.


          TERRY MORAN: Do you trust him?


          PRESIDENT DONALD TRUMP: I think --


          TERRY MORAN: Do you trust him?


          PRESIDENT DONALD TRUMP: I don't trust you. I don't trust -- I don't trust a lot of
          people. I don't trust you. Look at you. You come in all shootin' for bear. You're so happy to
          do the interview.


          TERRY MORAN: I am happy --


          PRESIDENT DONALD TRUMP: And then you start hitting me with fake questions. You
          start tellin' me that a guy -- whose hand is covered with a tattoo --


          TERRY MORAN: Alright. We're back to that.


          PRESIDENT DONALD TRUMP: -- doesn't have the tattoo, you know.


          TERRY MORAN: Alright.
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          PRESIDENT DONALD TRUMP: I mean, you're being dishonest.


          TERRY MORAN: No, I'm not --


          PRESIDENT DONALD TRUMP: Let -- let-- let me just tell you --


          TERRY MORAN: No, I am not, sir.


          PRESIDENT DONALD TRUMP: Do I trust -- I don't trust a lot of people. But I do think
          this. I think that he -- let's say he respects me. And I believe because of me he's not gonna
          take over the whole -- but his decision, his choice would be to take over all of Ukraine.


          TERRY MORAN: Okay.


          PRESIDENT DONALD TRUMP: It's a war that never should have happened. It did happen
          because of incompetent people --


          TERRY MORAN: Last question on this.


          PRESIDENT DONALD TRUMP: But it never should have happened.


          TERRY MORAN: If there's no peace deal, will the U.S. cut off military aid to Ukraine?


          PRESIDENT DONALD TRUMP: I don't want to tell you that. I'm not gonna tell you
          whether or not I would or not --


          TERRY MORAN: That sounds --


          PRESIDENT DONALD TRUMP: I want to leave that as a big, fat secret, because I don't
          want to ruin a negotiation. But --


          TERRY MORAN: I'd be worried if I were Ukraine.


          PRESIDENT DONALD TRUMP: -- I will tell you I was not happy when I saw Putin
          shooting missiles into a few towns and cities. And -- that was not something that I liked
          seeing, and I thought it was inappropriate. But I think the whole war is inappropriate.


          TERRY MORAN: Okay.


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          PRESIDENT DONALD TRUMP: Again, it's a war that shouldn't have happened. This war
          is a war that if the election weren't rigged -- and it was totally rigged, the 2020 election --
          if it weren't rigged, you wouldn't have that. You wouldn't have had the embarrassment --


          TERRY MORAN: Okay.


          PRESIDENT DONALD TRUMP: -- of Afghanistan.


          TERRY MORAN: Got it.


          PRESIDENT DONALD TRUMP: You wouldn't have October 7th with Is --


          TERRY MORAN: Got it.


          PRESIDENT DONALD TRUMP: --Israel. You wouldn't have had any of the problems that
          you have right now --


          TERRY MORAN: Thank you. I want to ask one question --


          PRESIDENT DONALD TRUMP: And you wouldn't have had inflation either.


          TERRY MORAN: Alright. I want to ask one question about Defense Secretary Pete
          Hegseth. There's a lot of turmoil -- at the -- at the Pentagon right now. There's the Signal
          chat with his wife on it where he's discussing that attack in Yemen. There's another
          Signal chat -- discussing the attack on Yemen.


          There's a reporter accidentally involved. You said the other day that you had a talk with
          the secretary. Did you take him to the woodshed?


          PRESIDENT DONALD TRUMP: I had a talk with him, and whatever I said I probably
          wouldn't be inclined to tell you. Bu t-- we had a good talk. He's a talented guy. He's young.
          He's smart, highly educated. And I think he's gonna be a very good defense -- hopefully a
          great defense secretary, but he'll be a very good defense secretary --


          TERRY MORAN: You have a hundred percent confidence in Pete Hegseth?


          PRESIDENT DONALD TRUMP: I don't have -- a hundred percent confidence in anything,
          okay? Anything. Do I have a hundred percent? It's a stupid question. Look --


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          TERRY MORAN: It's a pretty important position.


          PRESIDENT DONALD TRUMP: -- I have -- no, no, no. You don't have a hundred percent.
          Only a liar would say, "I have a hundred percent confidence." I don't have a hundred
          percent confidence that we're gonna finish this interview.


          TERRY MORAN: We will.


          PRESIDENT DONALD TRUMP: Let's go.


          TERRY MORAN: Elon Musk and DOGE. Everyone knows that there's wasteful
          government spending. It's really important. But the cuts have had some serious
          consequences. There have been cuts to foreign aid programs that save lives and keep
          people alive overseas. There's been research at the National Institutes of Health on
          cancer, on Alzheimer's that has had to be stopped. And- - the question I think people
          have is: Did DOGE go too far, too fast, too recklessly?


          PRESIDENT DONALD TRUMP: No, I think DOGE has been, look, saved $150 billion.
          Billion. We saved -- that's a lot of money. There's also a lot of things right now under
          investigation, which is gonna increase that amount by a lot. And that's a tremendous
          amount of money. There were some things where when I heard about 'em I -- I put 'em
          back, as you know. There are things that I'm considering right now putting back. But
          overall, we've saved hundreds of billions of dollars of --


          TERRY MORAN: Well, the original promise was $2 trillion, went to $1 trillion. Now, it's
          $150 billion --


          PRESIDENT DONALD TRUMP: Well, I don't know --


          TERRY MORAN: -- and heading south.


          PRESIDENT DONALD TRUMP: You don't know what it's gonna be because we have
          things that are very -- at a very high level that are being looked at right now. We also
          found tremendous waste, fraud, and abuse, as you know.


          We found a lot of fraud. There was a lot of fraud. Fraudulent things were taking place,
          and we ended that, and those people are gonna be suffering --



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          TERRY MORAN: Just --


          PRESIDENT DONALD TRUMP: -- because of it.


          TERRY MORAN: -- a legal note. Fraud is a crime. There have been no referrals to the
          Justice Department on any of this --


          PRESIDENT DONALD TRUMP: Well, you don't know that, do you? How do you know
          that?


          TERRY MORAN: Have there been referrals --


          PRESIDENT DONALD TRUMP: How do you know that --


          TERRY MORAN: -- to the -- are there criminal referrals --


          PRESIDENT DONALD TRUMP: Why -- how would you know that, that there were no
          referrals? I think there--


          TERRY MORAN: There's -- there's --


          PRESIDENT DONALD TRUMP: -- were referrals.


          TERRY MORAN: They generally -- alright. There's been no investigation from the Justice
          Department --


          PRESIDENT DONALD TRUMP: How do you know that?


          TERRY MORAN: I'm asking you, sir.


          PRESIDENT DONALD TRUMP: No, you're not askin' me. You made a statement. You're
          not asking me --


          TERRY MORAN: Now, I'm asking you.


          PRESIDENT DONALD TRUMP: That was a statement that you made. There have been --


          TERRY MORAN: Now, I'm asking.


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          PRESIDENT DONALD TRUMP: Have there been? Yes, there have.


          TERRY MORAN: So there have been referrals for fraud from the work of DOGE?


          PRESIDENT DONALD TRUMP: Of course there have been. Take a look at some of these
          things --


          TERRY MORAN: Alright. Alright.


          PRESIDENT DONALD TRUMP: -- that took place. Millions of dollars were given to people
          for no reason whatsoever. Of course there have been.


          TERRY MORAN: I want to bring up -- what is truly one of -- to a lot of people, one of the
          biggest achievements of your first term. That is Operation Warp Speed. You got that
          COVID vaccine up and going --


          PRESIDENT DONALD TRUMP: That's right.


          TERRY MORAN: -- and distributed. And a lotta people took it, and a lotta people that feel
          their lives have been saved by it. Now, we have this measles outbreak, biggest in a decade
          -- in Texas, and it's because people aren't getting their children vaccinated. Do you
          recommend to parents that they get their children vaccinated for measles?


          PRESIDENT DONALD TRUMP: Well, I recommend the governors to make the decisions.
          You have a very talented governor of Texas, and he's making decisions, and those
          decisions are gonna be made rapidly. This is a very much different thing than COVID in
          terms of rap -- rapidity and speed and other things.


          Measles have been with us a long time. And I'm not saying good, bad, or indifferent. I'm
          just saying that -- the governors are making the decision. It's a federalist decision --


          TERRY MORAN: So you're -- the president is -- is our leader in so many ways, and your
          voice counts so much. And you can't tell moms and dads, you know, it's a good thing --


          PRESIDENT DONALD TRUMP: Oh, sure. I rec --


          TERRY MORAN: -- to get a measles vaccine?


          PRESIDENT DONALD TRUMP: Do I recommend it?
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          TERRY MORAN: Yes.


          PRESIDENT DONALD TRUMP: Yes, I do. I recommend it. Yeah.


          TERRY MORAN: Got it. That was my question --


          PRESIDENT DONALD TRUMP: Do I mandate it? No.


          TERRY MORAN: No. No, I didn't ask --


          PRESIDENT DONALD TRUMP: But I do recommend it, yes --


          TERRY MORAN: Good. Do you think your --


          PRESIDENT DONALD TRUMP: And I have recommended it.


          TERRY MORAN: Do you think the secretary of Health and Human Services, Robert F.
          Kennedy Jr., who has a history of at the very least vaccine skepticism -- do you think
          Kennedy recommends the measles vaccines?


          PRESIDENT DONALD TRUMP: He did. He did. He recommended it. Yeah, he did. He
          recommended it --


          TERRY MORAN: Are you satisfied with his --


          PRESIDENT DONALD TRUMP: Yeah, I mean, he --


          TERRY MORAN: -- response on this?


          PRESIDENT DONALD TRUMP: -- recommended that they go out and get the vaccine.
          Yeah.


          TERRY MORAN: Okay. I want to talk a little bit about presidential power, the powers that
          you have in the presidency- - temporarily that the American people ha -- have given you,
          right? You've revoked a lot of people's security clearances. You've revoked people's
          security details who are -- still threatened, you know, with death threats. You've gone
          after law firms because they've employed people you don't like or they have represented
          people that you don't like --


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          PRESIDENT DONALD TRUMP: Well, they obviously agreed because they paid me a lotta
          money.


          TERRY MORAN: Well, the reason they agreed is because you were threatening to destroy
          their business with your executive order that said, "You can't represent clients before the
          federal government." That's--


          PRESIDENT DONALD TRUMP: Well -- These are big --


          TERRY MORAN: That's their bread and butter --


          PRESIDENT DONALD TRUMP: These are big boys. These are big -- these are the biggest,
          most powerful lawyers. These are not people that --


          TERRY MORAN: You got a lotta leverage as president --


          PRESIDENT DONALD TRUMP: -- are easily intimidated.


          TERRY MORAN: As president, you've got all the cards.


          PRESIDENT DONALD TRUMP: And they paid hundreds of millions of dollars because
          they felt -- I guess they probably felt they did something wrong, you know --


          TERRY MORAN: It was for survival, sir. You --


          PRESIDENT DONALD TRUMP: No, it isn't. These --


          TERRY MORAN: You were crushing their business --


          PRESIDENT DONALD TRUMP: These -- these firms are very powerful firms, and there's
          15 of them. And these are firms that -- probably-- look, you have to ask them. In fact, this
          is a separate story. You have to ask them, "Why did you all pay Trump hundreds of
          millions of dollars in services, et cetera? Why did you do that?" I don't know.


          TERRY MORAN: You don't think that factored --


          PRESIDENT DONALD TRUMP: We -- we -- we have a clause in the thing that, "While we
          admit no wrongdoing." But, you know, it's like one of those things. And now I'm friendly
          with those firms. But it's -- you know, these are the most powerful firms in the world.
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          And they just signed whatever I put in front of 'em. I've never seen anything like it. I'm--
          I'm actually surprised myself in a certain way. But they obviously felt they probably did
          something wrong. I guess that's why they signed.


          TERRY MORAN: I guess the question out of that is the concern that people have: Are --
          are you using your powers as president to get personal revenge?


          PRESIDENT DONALD TRUMP: No. I'll tell you what -- I tell you what you sh -- not --
          you're really not asking and you should be asking. There has never been a president in
          this country in the history that was persecuted like I was persecuted by really crooked
          people. Dishonest, horrible people. And it's been proven.


          So when you say I'm treating people rough, I'm not treating people rough. I was treated
          worse than any president in the history of our country. And, you know, people figured,
          "Well, maybe that's it. Finally we got-- you know, he's leaving town. There goes the
          helicopter."


          And then I came back. And -- I came back because I have tremendous support. You know,
          when you win an election like I won it -- and you will admit: I won all seven swing states. I
          won the popular vote. I won -- 700 of -- let's say 2,750 districts compared to 500 districts.
          That's why the map is all red. And those people feel that I was treated unfairly.


          TERRY MORAN: But does that give you the right to go after your political opponents with
          the powers of this office --


          PRESIDENT DONALD TRUMP: I don't go after -- I don't go -- I'm going after -- all I'm
          doing -- hey, Biden did something to me --


          TERRY MORAN: So --


          PRESIDENT DONALD TRUMP: --a nd I did something to Biden. And you know why I did
          it? 'Cause he's grossly incompetent. That's not a man that should be allowed to, you know,
          be lookin' at things that are very confidential.


          TERRY MORAN: But what about --71 people you've revoked their --


          PRESIDENT DONALD TRUMP: Here's a man that used an autopen to sign very
          important documents. Now, who really is -- do -- do you think he knew what -- that they

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          were using an autopen? I mean, he used an autopen to sign very, very important
          documents. And so those are really the questions you should be asking: "What do you
          think of the autopen? Who wielded the autopen?" Because -- whoever that person was,
          think of it. Whoever the person that wielded the autopen, he was really the president of
          the United States.


          TERRY MORAN: You are the president, right.


          PRESIDENT DONALD TRUMP: I don't think that Biden knew anything about it --


          TERRY MORAN: Okay, fair enough. But you are the president now. And I'm asking the
          justification for going after people you don't like.


          PRESIDENT DONALD TRUMP: Uh. No, no.


          TERRY MORAN: That is the --


          PRESIDENT DONALD TRUMP: People that I think are dishonest. It's not that I don't -- I
          don't even know most of 'em. They're people that I think are dis --


          TERRY MORAN: These are people that made you angry.


          PRESIDENT DONALD TRUMP: No-- it's not anger. These are people that I think are very
          dishonest. I don't think they're worthy of being able to go into top-secret information. I
          think that's fine. And Biden did that with many of our people. But when you look at it --
          these are people that I don't think are worthy. That's my decision. It's not a question of
          anger.


          TERRY MORAN: Okay. I understand you just had a phone call with the new Canadian
          premier. And they just had this election. You were a big issue in it. And Canadians, many
          of them, are really angry, furious, about your talk about, "We're gonna take over Canada.
          It's gonna become the 51st state--"


          PRESIDENT DONALD TRUMP: That’s their prerogative.


          TERRY MORAN: And it kind of is of a piece -- a lotta -- travel is down into the United
          States from around the world.



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          PRESIDENT DONALD TRUMP: We're doing great --


          TERRY MORAN: Feels like there's been reputational damage --


          PRESIDENT DONALD TRUMP: The country's doing great.


          TERRY MORAN: Well --


          PRESIDENT DONALD TRUMP: Prices are down.


          TERRY MORAN: Not the tourism industry --


          PRESIDENT DONALD TRUMP: Gasoline's down. Energy's down. Tourism is gonna be
          way up. Wait till you see the numbers. The tourism is way up.


          TERRY MORAN: Not now.


          PRESIDENT DONALD TRUMP: Now, Canada -- oh, sure -- tourism's doing very well.
          We're doing very well. We're doing very well. Wait till you see the real numbers come out
          in about -- in six months from now wait till you see the numbers.


          TERRY MORAN: But do you think --


          PRESIDENT DONALD TRUMP: They're gonna be very good --


          TERRY MORAN: I'm gonna ask -- if I may, do you think the reputation of the United
          States has gone down under your presidency?


          PRESIDENT DONALD TRUMP: I -- no, I think it's gone way up, and I think we're a
          respected country again. We were laughed at all over the world. We had -- a president that
          couldn't walk up a flight of stairs, couldn't walk down a flight of stairs, couldn't walk
          across a stage without falling. We had a president that was grossly incompetent. You
          knew it, I knew it, and everybody knew it. But you guys didn't want to write it because
          you're fake news.


          TERRY MORAN: Alright. Thank you --


          PRESIDENT DONALD TRUMP: And, by the way, ABC is one of the worst. I have to be
          honest with you --
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          TERRY MORAN: Okay. Thank you for the opinion. But more importantly, thank you for
          having us here. I have one more question.


          It's a big one. It's a question that you know a lot of people have out there. What do you say
          to people who are concerned you are taking, seizing too much power and becoming an
          authoritarian president like we haven't had before?


          PRESIDENT DONALD TRUMP: No, I -- I would hate them to think that. I'm doing one
          thing: I'm makin' America great again. We have a country that was failing. We have a
          country that was laughed at all over the world. We had a leader that was grossly
          incompetent. He should have never been there.


          The election was rigged. He shoulda never been there. Our country suffered greatly, and
          now our country's coming back like nobody can believe. I have editorials just today
          where they're saying they've never seen anything like it. They love it. Our country's
          coming back, and we're respected again.


          TERRY MORAN: Mr. President, thank you.


          PRESIDENT DONALD TRUMP: Thank you, Terry, very much.


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